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             IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
ROBERT TICHY and                       :   Civil No. 4:19-CV-01385
CORALINA TICHY,                        :
                                       :
           Plaintiffs,                 :
                                       :
           v.                          :
                                       :
THOMAS REINHART, et al.,               :
                                       :
           Defendants.                 :  Judge Jennifer P. Wilson
                                     ORDER
     AND NOW, on this 4th day of November, 2020, for the reasons stated in the

accompanying memorandum, IT IS ORDERED AS FOLLOWS:

  1. The court declines to exercise jurisdiction over Plaintiffs’ remaining state

     law claims. This case is accordingly DISMISSED WITHOUT

     PREJUDICE.

  2. All pending motions in the case (See Docs. 61–62, 77, 85) are DENIED

     WITHOUT PREJUDICE as moot.

  3. The Clerk of Court is directed to close this case.

                                      s/Jennifer P. Wilson
                                      JENNIFER P. WILSON
                                      United States District Court Judge
                                      Middle District of Pennsylvania
